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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

ROBERT (BOB) VARGAS                     §
                                        §
VS.                                     §       CIVIL NO. 4:22-CV-343-Y
                                        §   (Consolidated w/4:22-CV-430-Y)
ASSOCIATION OF PROFESSIONAL             §
FLIGHT ATTENDANTS, ET AL.               §
                                        §
AND                                     §
                                        §
EUGENIO VARGAS                          §
                                        §
VS.                                     §
                                        §
ASSOCIATION OF PROFESSIONAL             §
FLIGHT ATTENDANTS, ET AL.               §

               ORDER REFERRING MOTION TO MAGISTRATE JUDGE

        Pending before the Court is Defendants’ Motion for Rules 30(d)

and 37(b) Sanctions (doc. 205). After review of this motion and the

record in this case, the Court concludes that the motion should be

and is hereby REFERRED to United States Magistrate Judge Jeffrey L.

Cureton for determination.         See 28 U.S.C. § 636(b)(1)(A).

        All papers filed hereafter regarding this motion shall include

the following notation under the case-number:            “(Relates to Motion

Referred to Magistrate Judge Cureton).”1

        SIGNED February 20, 2024.

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                                            TERRY R. MEANS
                                            UNITED STATES DISTRICT JUDGE




1
 The judge’s copy of all documents related to this motion should be mailed to the
Honorable Jeffrey L. Cureton, Eldon B. Mahon United States Courthouse, 501 West
10th Street, Room 520, Fort Worth, Texas 76102.
